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                                                                         Pages 1   -   12

                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                   BEFORE THE HONORABLE WILLIAM H. ALSUP

UNITED STATES OF AMERICA,          )
                                   )
             Plaintiff,            )
                                   )
  vs.                              )                          No. CR 14-0175 WHA
                                   )
PACIFIC GAS AND ELECTRIC COMPANY, )
                                   )                          San Francisco, California
             Defendant.            )                          Tuesday
                                   )                          December 5, 2017
___________________________________)                          2:00 p.m.

                               TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

For Plaintiff:                          BRIAN STRETCH
                                        United States Attorney
                                        450 Golden Gate Avenue
                                        San Francisco, California 94102
                               BY:      JEFFREY BENJAMIN SCHENK
                                        ASSISTANT UNITED STATES ATTORNEY



For Defendant:                          CLARENCE DYER & COHEN, LLP
                                        899 Ellis Street
                                        San Francisco, California 94109
                               BY:      KATE DYER, ESQ.


                                        JENNER & BLOCK
                                        353 North Clark Street
                                        Chicago, Illinois 60654
                               BY:      REID J. SCHAR, ESQ.

               (APPEARANCES CONTINUED ON FOLLOWING PAGE)


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                Computerized Transcription By Eclipse

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1    APPEARANCES:     (CONTINUED)

2
     For Federal Monitor:              KIRKLAND & ELLIS, LLP
3                                      555 California Street
                                       San Francisco, California 94104
4                             BY:      CHRISTOPHER KEEGAN, ESQ.

5

6    Also Present:                     Jennifer Hutchings
                                       U.S. Probation Department
7                                          _ _ _

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1                                 P R O C E E D I N G S

2    December 5, 2017                                                    2:11 p.m.

3                                           ---000---

4               THE CLERK:         Calling Criminal Action 14-175.           USA

5    versus Pacific Gas & Electric Company.

6         Counsel, please approach the podium and state your

7    appearances for the record.

8               MR. SCHENK:          Good afternoon, your Honor.          Jeff Schenk

9    on behalf of the United States.

10              THE COURT:         Welcome.

11              THE PROBATION OFFICER:                  Good afternoon, your Honor.

12   Jennifer Hutchings on behalf of Probation.

13              MR. KEEGAN:          Good afternoon, your Honor. Chris Keegan

14   on behalf of the Federal Monitor, Mark Filip.

15              MR. SCHAR:         Good afternoon, your Honor.           Good

16   afternoon, your Honor.            Reid Schar on behalf of PG&E.

17              MS. DYER:         Good afternoon, your Honor.            Kate Dyer on

18   behalf of PG&E.

19              THE COURT:         All right.           Welcome to all of you.   Are

20   any PG&E representatives actually here?

21              MR. SCHAR:         Yes, your Honor.

22              THE COURT:         Why don't you introduce them?

23              MR. SCHAR:         Julie Kane and Alex Vallejo are both

24   here.   Both are in the Compliance Department.

25              THE COURT:         Good.       Sit up here at counsel table, if

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1    you will.

2           So let's hear the report.                 Let's start with Ms. Hutchings.

3                PROBATION OFFICER:                Yes, your Honor.

4           The report on the update for -- with regards to community

5    service is that specifically 2,271.25 hours have been

6    completed.

7                THE COURT:          How many?          Say that number again.

8                PROBATION OFFICER:                2271.25 hours have been

9    completed, of which 1,064 hours were completed by officers and

10   directors.

11          So PG&E now has an automated system, check-in/check-out

12   system that they have shown me in person.                             When individuals

13   come to do the community service, they use an I.D.                            They log

14   in.    They check out.          So it's very specific as to when they

15   start work and when they leave, almost like a time card.

16               THE COURT:          Okay.       So those hours seem like they --

17   that's big progress since the last time you were here; is that

18   right?

19               PROBATION OFFICER:                I would agree.             Absolutely.

20               THE COURT:          And if we did the extrapolation, how many

21   hours would that -- how soon would the 10,000 hours be used up?

22               PROBATION OFFICER:                It's my understanding that they

23   planned on being, hopefully, done within the first three years

24   of supervision is the goal.                 Correct me if I'm wrong, but I

25   believe that was the goal.

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1               THE COURT:          Would that get us there?              2,000 a year?

2               PROBATION OFFICER:                Well, it won't, but it did take

3    some time to get rolling in the very beginning.                      We had to meet

4    with the city, find out what projects they wanted.                      It look a

5    little bit of time, but I feel like that train is rolling and

6    now as we go into 2018, I think they will be ahead of the curve

7    as far as --

8               THE COURT:          Ms. Hutchings sent me some photographs

9    yesterday, which I looked at.                  Thank you for that.

10        Why don't you describe on the record what those

11   photographs were?

12              PROBATION OFFICER:                Sure.

13        PG&E graciously invited me last week to their officer and

14   director's meeting, which I went to, and I was able to view

15   firsthand the morning session, which had to do with a lot of

16   community service projects that all the individuals there were

17   working on.

18        And the photographs that I sent your Honor were of the

19   different rooms where different projects were being done for

20   various organizations in San Mateo.

21              THE COURT:          These were what level people in the

22   company?

23              PROBATION OFFICER:                Officers and directors.       All

24   levels, your Honor, even up to the very, very top.

25              THE COURT:          CEO?

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1              PROBATION OFFICER:                Yes.

2              THE COURT:          Chairman of the Board?

3              PROBATION OFFICER:                They were there making onesies

4    for the shelters.        So, yes.

5              THE COURT:          Well, good for them.

6         Okay.    Just on the subject of community service, is there

7    more to say on the subject of community service?

8              PROBATION OFFICER:                I don't believe so, unless your

9    Honor has any specific questions.

10             THE COURT:          Is a book of some sort or something that

11   would capture in one place all of the work done in place?                      I

12   mean, at a school or playground, wherever it gets done.                   Is

13   there some book of photographs that document the work that's

14   being done?

15             PROBATION OFFICER:                I can't speak to the photographs,

16   your Honor.    But they provide me with a summary in advance of

17   the projects that are planned for the upcoming month and any

18   post-summary report as well.

19        If the Court would like those sent to you on a monthly

20   basis, I'm more than happy to do that.

21             THE COURT:          I do want them sent to me, but what I

22   think we should do is accumulate the story in one booklet form

23   so that it will go into the archives of history.                    And when

24   we're all gone and there are other people here, they can look

25   at the book and see what happened in this case.

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1         So maybe you could work on that.                      Maybe get PG&E to do

2    that, put that booklet together.

3              PROBATION OFFICER:                I'm sure they would be happy to.

4              THE COURT:          All right.           How about the United States?

5    Just on the subject of the community work, what does the United

6    States have to say?

7              MR. SCHENK:           We don't have anything to add.            We're

8    happy with the progress.

9         Judge Henderson's order was 10,000 hours by the end of

10   five years.    In speaking with counsel for PG&E, I do understand

11   that there was a bit of time required after the order came in

12   place in late January to get the project rolling, and it seems

13   that they are well on their way to meeting that mark and it, in

14   fact, looks like they will finish early.

15             THE COURT:          That's great.             On that subject, what

16   would you two like to say?

17             MR. SCHAR:          Your Honor, I don't think we have

18   anything to add.        The Probation Officer, I think, has done a

19   very thorough job.

20        We will work on accumulating the information that you

21   requested.

22             THE COURT:          Yeah.       I think it would be good for the

23   history books.

24        Okay.    What does -- let's go to what the Monitor has been

25   working on.    Give us the Monitor report.

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1              MR. KEEGAN:           Sure, your Honor.

2         Monitorship is progressing.                   There has been a lot of

3    activity since we were here before.

4         A couple of updates on some things we have ongoing.                           We

5    participate in the very top level strategic discussions,

6    business discussions on a quarterly basis.                          We have been

7    invited to those meetings by PG&E with a focus on gas

8    operations.

9         We have a very regular cadence of meetings in San Ramon

10   with the engineers, the Integrity Management Group and the

11   people who are responsible for the transmission planning are

12   subject matter experts, and our team members are there pretty

13   much every week for various meetings.

14        Currently we have people in the field, and that's

15   something that we've recently started.                       We're sending people

16   out to the yards and going to do -- observe and monitor the

17   work that's happening by the workers in the field to try and

18   get an understanding of what their view of the company is and

19   how the different compliance and ethics and safety and training

20   and education filters down to the people who are doing the

21   work.

22        Some examples of specific numbers we're working on right

23   now -- there is a lot more than this, but just a few examples.

24   Two of our experts and other team members have been down in the

25   field on transmission integrity management projects in the

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1    Mojave.

2              THE COURT:          Is this gas transmission?

3              MR. KEEGAN:           Yes, gas transmission.              The big -- the

4    backbone transmission lines across the state.                       Those projects

5    in the Mojave involved hydro testing, the strength testing

6    that's included in the order, making those lines capable of

7    in-line inspection or to make piggable projects.                      So we have

8    some very experienced subject matter experts who are down there

9    observing and reporting back as to how that work is

10   progressing.

11        We are working with our technical experts and our team

12   members as PG&E is engaged in updating their Integrity

13   Management planning.          That's an annual cycle that they do.

14        So we are meeting with the engineers to really understand

15   and evaluate the types of information that they are collecting,

16   the QC and QA of that information, what formula that

17   information gets filtered through, and what the ultimate risk

18   ranking for each segment of pipeline is, and then understanding

19   how that risk ranking turns into a forward-looking operational

20   plan.

21        So that's really a core aspect of what we're doing.

22             THE COURT:          So your work, is it -- is it limited to

23   gas or do you also get off into electricity?

24             MR. KEEGAN:           The specific requirements, the technical

25   requirements are focused on gas operations.

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1         The compliance and ethics piece and the safety and the

2    culture of the company is a little bit more overarching

3    enterprise wide.       So we look at that as sort of across all of

4    the specific lines of business.

5              THE COURT:         So that would include electricity?

6              MR. KEEGAN:          It does, as far as compliance and the

7    safety culture.

8              THE COURT:         Do you have any responsibility or

9    jurisdiction over inquiry into the North Bay fires, as to what

10   went wrong there, if anything, by PG&E?

11             MR. KEEGAN:          Your Honor, I think responsibility and

12   jurisdiction is a question for you, as well as anyone.

13        When the fires came about, we were involved in the

14   emergency response.         We were observing the emergency response

15   activities.   They had a camp set up to get people electricity

16   back and get gas set up.            We participated in twice daily

17   emergency operations calls.

18        But as far as what caused the fire or fire investigation,

19   I think that's Cal Fire.            I think that's the State Attorney

20   general, and I think that sort of cause investigation is

21   something they would be evaluating and looking at.

22             THE COURT:         Okay.       What else would you like to add?

23             MR. KEEGAN:          I think I've gone through the full list

24   of bullets I have here, your Honor, unless you have any

25   questions.

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1                THE COURT:          Not yet.

2         Ms. Hutchings, do you have anything to add to what the

3    Monitor said?

4                PROBATION OFFICER:                I do not, your Honor.

5                THE COURT:          The Government?

6                Mr. SCHENK:           No, your Honor.              Submitted.

7                THE COURT:          How about you two?

8                MR. SCHAR:          No, your Honor.              Mr. Keegan has, I think,

9    accurately described a fairly thorough process.                          The company is

10   trying to be as responsive as it can be to the Monitor's

11   requests.

12               THE COURT:          So what other subjects should we go into

13   today in assessing the status of supervised release -- I mean,

14   probation?

15               PROBATION OFFICER:                I don't believe there is anything

16   we need to go over today, your Honor.                        Between myself

17   monitoring certain activities and the monitorship monitoring

18   other activities, all of us are in communication frequently.

19   PG&E is very communicative with me and always updating me on

20   even what's going on on the Monitor's side.                           So I feel like the

21   communication is excellent.

22               THE COURT:          Good.       How about the Government?

23               Mr. SCHENK:           Nothing further, your Honor.

24               THE COURT:          How about you two?

25               MR. SCHAR:          No, your Honor.              Nothing else.

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1               THE COURT:         What's our next step?

2               Mr. SCHENK:          I think we would defer to the Court.

3    The Court, I think, set this originally to make sure that

4    PG&E's community service hours improved and we got to a place

5    where they --

6               THE COURT:         It seems like that worked.                 So how about

7    six months from now, come back in six months?

8               PROBATION OFFICER:               Sure.

9               THE COURT:         What would that be, Angie?

10              THE CLERK:         June 12th, your Honor.

11              THE COURT:         June 12?

12              Mr. SCHENK:          Yes.      Yes, your Honor.

13              MR. KEEGAN:          Yes, your Honor.

14              THE COURT:         It will be summertime.                  The flu will be

15   gone.   Leaves will be green.

16        Okay.    Thank you for the good report.                        I appreciate all of

17   your cooperation and assistance.                   See you then.

18              MR. KEEGAN:          Thank you, your Honor.

19              PROBATION OFFICER:               Thank you, your Honor.

20              Mr. SCHENK:          Thank you, your Honor.

21              MR. SCHAR:         Thank you, your Honor.

22        (Proceedings adjourned.)

23

24

25

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